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     Life insurance companies with well-established asset-liability management programs are
      best prepared to manage through a low interest period. Furthermore, the utilization of new
      sophisticated enterprise risk management (ERM) techniques, can enhance insurers’ ability
      to monitor their asset/liability positions by employing cash-flow analysis, duration,
      convexity, earnings and capital at risk and focusing on tail returns and expected shortfall.
      Also, life insurance companies can take action before rates drop and effectively hedge
      interest risk through interest rate floors or forward cash flow hedging.


      • How Insurers Counter Low Interest Rates


      Insurers have various tools to address the risk of persistently low interest rates. Increasing
      the duration of their assets to ensure better matching between assets and liabilities is at
      the core of life companies’ interest rate risk strategies as part of their overall ALM.
      Insurers also can lower the terms of new policies (i.e., by lowering guaranteed rates),
      thereby progressively lowering liabilities.


      Generally, in times of low interest rates, the main challenge for insurers’ ALM is that
      current lower-yielding investments cannot meet past return assumptions (reinvestment
      rate risk). As higher-yielding investments mature and roll over into lower-yielding assets,
      the degree of risk faced by an insurer depends on the extent of the duration mismatch
      between assets and liabilities. The duration of some life insurers’ liabilities exceed the
      longest duration assets that may be available for purchase and, as a result, companies
      could be exposed to reinvestment rate risk.


      At the same time, while the strategy of duration match seems straightforward enough in
      theory, in practice it is much harder to achieve a perfect hedge against interest rate risk.
      Most life insurance liabilities have been incurred from long duration contracts and as a
      result can lead to a less-than-perfect match between asset and liability cash flows.


      Life insurers also can try to offset low interest rates by diversifying their products and
      investment portfolios. Companies with diversified books ordinarily tend to have less overall
      exposure to interest rate risk if their interest-sensitive product lines are well-balanced with
      non-interest-sensitive lines. Furthermore, adjusting the pricing and/or the features and
      terms of new policies (i.e. by lowering guaranteed rates) can help progressively lower
      liabilities providing a relief to insurers that face spread compression for existing products.


      Investing in higher-yielding assets to improve investment income and counter the impact
      of low interest rates, albeit at the cost of potentially assuming more credit risk, might be
      another option that life companies could exercise. However, as a word of caution, this
      strategy could result in material realized and unrealized losses. The NAIC Capital Markets
      Bureau has begun analyzing changes in asset mix from year-end 2010 to year-end 2011
      and found significant dollar increases in two areas; structured securities and investments
      in commercial real estate, either through mortgage loans or equity. In the case of
      structured securities, the increase is largely attributable to additional investments in
      agency-backed Residential Mortgage-Backed Securities (RMBS), which are effectively
      supported by the Federal government. In the case of commercial real estate investments,
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     As previously noted, one tool life insurers #:9842
                                                 use to manage interest rate risk is the matching
      of asset and liability cash flows. In fact, statutory valuation law requires insurance
      companies to perform an annual cash flow testing exercise where the life insurance
      company must build a financial model of their in-force assets and liabilities. The company
      must run the financial model for a sufficient number of years, such that any remaining in-
      force liability at the end of the projection period is not material.


      At each duration, the financial model calculates the difference between liability and asset
      cash flows and accumulates this difference forward under a given interest rate scenario.
      The metric analyzed is typically the ending market value of surplus or the present value of
      the ending market value of surplus.


      At the start of the model, assets are set equal liabilities so surplus is zero. Most
      companies run both a set of stochastically generated interest rate scenarios (typically
      1,000+ scenarios), as well as a set of seven deterministic interest rate scenarios that are
      prescribed by state insurance regulators (referred to as “the New York 7”). The American
      Academy of Actuaries (AAA) has developed an economic scenario generator that
      randomly generates interest rate scenarios as well as market rate scenarios. Companies
      typically use the AAA’s economic scenario generator to develop the stochastic interest
      rate scenarios they use in the asset adequacy analysis process.


      The deterministic interest rate scenarios that were prescribed by state insurance
      regulators are as follows:


          1. Level interest rate scenario
          2. Uniformly increasing over 10 years at 0.5% per year and then level
          3. Uniformly increasing over five years at 1.0% per year and then uniformly decreasing
                 over five years at 1.0% per year and then level
          4. An immediate increase of 3% and level forever
          5. Uniformly decreasing over 10 years at 0.5% per year and then level
          6. Uniformly decreasing over five years at 1.0% per year and then uniformly increasing
                 over five years at 1.0% per year and then level
          7. An immediate decrease of 3% and level forever

      Such interest rate scenarios provide a good set of stress tests to help ensure that life
      insurance companies have either well matched asset and liability cash flows or have
      established additional reserves that are available to cover any interest rate or
      reinvestment rate risk that is embedded in their balance sheets. The Standard Valuation
      Law (#820) requires life insurance companies to post an additional reserve if the
      appointed actuary determines that a significant amount of mismatch exists between the
      company’s asset and liability cash flows. As part of this study, the NAIC pulled the
      additional reserves liabilities that were established by companies at year-end 2010. The
      life insurance industry posted an additional asset/liability cash flow risk reserve of $6.5
      billion.


      • Conclusion
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     Persistent low interest rates are challenging in many ways. The impact of low interest
      rates on the life insurance industry is something that bears watching. There are policy
      implications regulators must consider if the low interest rate environment persist over a
      long period of time. Financial regulators must closely monitor the efforts of life insurers to
      match assets with corresponding liabilities. The impact of past guarantees must be
      mitigated in ways that do not create volatility or inordinate risks through aggressive
      hedging activity. Life insurers and their regulators need to work together to assure
      policyholders are protected in the most efficient ways by balancing the challenges brought
      about by the low interest rate environment with safe and effective risk management
      solutions.


      [1]
            On September 21, 2011, the Federal Reserve revealed its intention to shift $400 billion
      of short-term treasury holdings into longer-term treasury notes and bonds by the end of
      June 2012. The goal of the program, dubbed Operation Twist, is to lower long-term
      interest rates in an attempt to promote economic growth and increase employment.

      [2]
            On August 9, 2011, the Federal Open Market Committee (FOMC) of the Federal
      Reserve announced its intention to keep the Federal Funds Target Rate at 0.00%-0.25%
      until at least mid-2013, which was the first time the Fed ever gave a specific date rather
      than using the term “extended period.” On December 13, 2011 the Fed reiterated that
      economic conditions are likely to warrant exceptionally low interest rates until at least mid-
      2013.

      [3]
            In an interest rate swap, one party typically exchanges a stream of floating rate interest
      payments for another party’s stream of fixed rate interest payments (or vice versa).

      [4]
            Net portfolio yield less the guaranteed credited rate of interest.

      We welcome your questions and comments. Please contact us at ciprnews@naic.org or
      shall@naic.org.




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